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KENTI l\1. PRICE #10523                            UNITED STATES DISTRICT COURT
United States Attorney                                  DISTRICT OF HAWAII
District of Hawaii                                       FEB 1 4 2018
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THOMAS J. BRADY #4472                                 SUE 8EITIA, CLERK           0
Chief, Criminal Di vision

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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DfSTRlCT OF HA \VAii


UNTIED STATES OF AMERICA, )              MAG. NO. 18-0130 KSC
                          )
             Plaintiff,   )              CRIMINAL COMPLAINT
                          )
              vs.                   )
                          )
FELINA S. SALINAS,        )
                          )
               Defendant. )
~~~~~~~~ )



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             I, the undersigned complainant, being duly sworn, state the following

is true and correct to the best of my knowledge and belief:

             On or about February 13, 2018, in the District of Hawaii, the
             defendant, FELINA S. SALINAS, with the intent to evade a currency
             reporting requirement under Title 31, United States Code, Section
             5316, did knowingly conceal more than $10,000 in currency, namely
             approximately $335,000 in United States dollars and $9,000 in
             Australian dollars, in an article of luggage and did attempt to transport
             such currency from a place within the United States to a place outside
             the United States.

            All in violation of Title 31, United States Code, Section 5332(a).

            I further state that I am a Special Agent with the Department of

Homeland Security, Homeland Security Investigations. This Complaint is based

on the following affidavit which is attached hereto and incorporated herein.

            Dated: February 14, 2018, at Honolulu, Hawaii.



                          ~NEY
                          Special Agent,
                          Department of Homeland Security
                          Homeland Security Investigations




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           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

           Ann Mylene Haney, after being duly sworn, deposes and states as
follows:

      1. I am an ICE/HSI Special Agent currently assigned to the Immigration &
Customs Enforcement (ICE), Homeland Security Investigations (HSI), Border
Enforcement Security Taskforce (BEST), Special Agent in Charge Honolulu
Office, in Honolulu, Hawaii.

       2. This affidavit is in support of a criminal complaint charging Felina
Sabino SALINAS with a Bulk Cash Smuggling violation, in violation of Title 31,
United States Code, Section 5332(a). This affidavit is intended only to establish
that there is probable cause to conclude that Ms. SALINAS committed the
aforementioned offense and is based upon my personal knowledge, and
information furnished to me by other federal and state law enforcement officers.
This affidavit does not set forth all of my knowledge about this matter.

      3.      On February 13, 2018, Customs and Border Protection Officers
(CBPO) were conducting an outbound inspection of a private jet, #N425PQ/C-680,
located at the Honolulu International Airport, Signature Flight Support located at
98 Kapalulu Place, Honolulu, Hawaii 96819. The plane was en route to the
Philippines, carrying two crewmembers and four passengers. All passengers and
crewmen were escorted to the Signature Flight Support lounge area. CBPO
Joseph Barino provided the passengers a CBP Currency Reporting Form. A
passenger later identified as Felina Sabino SALINAS declared she was carrying
$40,000.00 in U.S. Currency via CBP Currency Reporting Form. Accordingly,
CBPO Wendy Lau-Castro provided SALINAS a FinCEN Form 105 to complete.
SALINAS completed the FinCEN form and declared $40,000.00 U.S. Currency
and 1,000 Philippines pesos.

      4.     Supervisory CBP Officer (SCBPO) Ernest Durante and CBPO Lau-
Castro then inspected a black rolling carryon bag located inside the plane and later
observed numerous black socks that were neatly bundled. SCBPO Durante and
CBPO Lau-Castro opened multiple bundles of socks and observed stacks of
$100.00 bills contained within the socks. SCBPO Durante then stopped the
inspection and secured the plane. SCBPO Durante then notified Homeland

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Security Investigations (HSI) Honolulu Border Enforcement Security Task Force
(BEST) Group Special Agents (SA) Ann Mylene Haney (the undersigned affiant)
and James Chambers of the aforementioned information.

      5.     SA Haney and SA Chambers arrived at Signature Flight Control and
boarded the plane. SCBPO Durante showed the agents the black rolling carryon
bag that contained the currency. SA Chambers and SA Haney then instructed
SCBPO Durante to complete their outbound inspection of the plane.

       6.     CBPO Barino and SCBPO Durante later asked the passengers identify
their luggage/baggage. At that time, Ms. SALINAS positively identified a blue
purse, the aforementioned black rolling carryon bag that contained the currency,
and a red backpack as her property. SCBPO Durante and CBPO Barino later
transported the aforementioned property to the HSI Honolulu BEST Group Office
located at the Honolulu International Airport.

       7.     SCBPO Durante and CBPO Barino later counted the currency located
inside the black rolling carryon bag. The total amount located inside the black
rolling carryon bag was $335,000.00 U.S. dollars, and $9,000.00 Australian
dollars. None of that money was reported by Ms. SALINAS to the CBPO as
required by Title 31, United States Code, Section 5316.

       8.    Based on the foregoing, I believe there is probable cause to conclude
that Felina Sabino SALINAS committed the offense of attempted bulk cash
smuggling out of the United States in violation of Title 31, United States Code,
Section 5332(a).

        FURTHER AFFIANT SAYETH NAUGHT.




                                      Special Agent, HSI

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       This Criminal Complaint and Affidavit in support thereof were presented
to, approved by, and probable cause to believe that defendant above-named
conunitted the charged crime found to exist by the undersigned Judicial Officer
at:

  0900        a.m. on February 14, 2018.




          ~




~RICHA                    . L.
United States Magistrate Judge




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